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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                   8:06CR370
                      Plaintiff,               )
                                               )
              v.                               )
                                               )         MEMORANDUM AND ORDER
HECTOR MANUEL,                                 )
                                               )
                      Defendant.               )
                                               )


       This matter is before the court on defendant’s objection, Filing No.30, to the report

and recommendation (R&R) of the magistrate, Filing No. 27. Defendant filed a motion to

suppress, Filing No. 18. The magistrate judge recommended that the defendant’s motion

to suppress be denied. Pursuant to 28 U.S.C. § 636(b)(1)(A), the court has conducted a

de novo determination of those portions of the R&R to which the defendant objects. United

States v. Lothridge, 324 F. 3d 599, 600-01 (8th Cir. 2003). The court has carefully reviewed

the entire record including the transcript of the suppression hearing, Filing No. 2, the briefs,

and the relevant caselaw. The court accepts the facts set out in the R&R and they need not

be repeated here, except to the extent necessary to this court’s findings. The court finds the

objections to the report and recommendation are overruled.

       Background

       On September 12, 2006, the Blair Police Department and the Washington County

Sheriff’s Office conducted an undercover drug investigation. A confidential informant told

Investigator Standard that a person by the name of “Coco,” later identified as co-defendant

Alvarc Velasco (hereinafter referred to as Coco), had a half ounce of methamphetamine

for sale for $500.00. The CI received a monitoring device from law enforcement and then
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called Coco requesting to purchase the methamphetamine. Coco and the defendant

arrived at the CI’s residence in a red Honda driven by Coco. They stayed inside the CI’s

house for approximately 45 minutes where the purchase of methamphetamine occurred.

Investigator Sean Standard of the Blair Police Department testified that parts of the

conversation were in Spanish, and he did not know what was said in that regard. Coco

then said he could obtain more methamphetamine which would cost about $4,000.00.

       There is no testimony in the record as to the defendant’s specific statements during

these discussions. However, Investigator Standard testified that it was his understanding

from the CI that both Coco and the defendant participated in the tape-recorded

conversation with the CI, and that both Coco and the defendant were present during the

drug deal. Filing No. 29, Tr. of suppression hearing, page 10, lines 3-6 and 11-13; page

24, line 20 to page 25, line 7; page 25, lines 12-19.

       Thereafter, Coco and defendant left and drove to a storage lot salvage yard. The

CI called Coco again and asked when he would be arriving for the second drug sale. Coco

and the defendant then drove toward Blair, Nebraska. Law enforcement tailed the red

Honda and ran the plates through the central office. Law enforcement discovered that the

license plates did not match the red Honda. The officers then conducted a traffic stop of

the red Honda and its occupants. Officer Standard testified that they wanted to make the

stop at that time to help protect the CI. Coco was driving the car at the time of the stop.

The officers brought in a drug dog, but the dog refused to correctly conduct a sniff search.

The officers took the red Honda to headquarters, along with the defendant and Coco, and

then filed a request for a search warrant to search the car, Coco, and the defendant. Prior

to requesting the warrant, pictures were taken of both the defendant and Coco and shown

to the CI. The CI identified both Coco and defendant as those persons who were at his

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house. A state court judge issued the warrant, and during the search 148 grams of

methamphetamine were found in a CD case inside the car. Coco was searched and the

officers discovered drug ledgers, phone numbers, a cell phone, the $500.00 buy money,

and $152.00. Defendant’s person was searched, and no evidence was obtained.

       Discussion

       In his motion to suppress, defendant argues that there was not one iota of evidence

tying him to this drug deal. It is true that there were no specific statements attributable to

him at the time of the sale, there were no statements attributable to him about the second

sale, he did not drive the vehicle, he did not call or receive calls from the CI, and no

evidence of drugs or related evidence were found when defendant was searched by law

enforcement. Defendant argues that his presence or association with a criminal cannot

produce probable cause nor does being at a “location known to be frequently involved in

narcotic sales or other crimes.” United States v. Everroad, 704 F.2d 403, 406 (8th Cir.

1983). Consequently, defendant argues that all evidence found thereafter is the fruit of an

initial and illegal arrest. Wong Sun v. United States, 371 U.S. 471 (1963). Absent the

illegal arrest, argues defendant, there is no information to link him or his name with the

alleged buy.

       The magistrate determined that these issues go to the weight of the evidence and

should be decided at trial. He did not believe they were appropriately raised in a motion

to suppress. The magistrate further found that there was probable cause to pull the red

Honda over for two reasons. First, the officers had probable cause to believe that the

occupants had just committed a crime and were in the process of committing another one.



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Second, the officers determined that the tags on the red Honda were not valid for that

vehicle.

       First, the court finds that the initial stop of the vehicle was valid because the police

had probable cause or reasonable suspicion to believe a traffic violation had occurred.

United States v. Herrera-Gonzalez, 474 F.3d 1105, (8th Cir. 2007). The actual motivations

of the officer and his subjective intentions are irrelevant. Whren v. United States, 517 U.S.

806, 813 (1996). The court further concludes that the officers had reason to believe that

a crime had occurred and was still occurring. See Michigan v. DeFillippo, 443 U.S. 31, 37

(1979); Terry v. Ohio, 392 U.S. 1 (1968); United States v. Bobo, 994 F.2d 524, 527 (8th Cir.

1993). The officers (1) had Coco and the defendant under surveillance as they entered the

residence of the CI; (2) had Coco and the defendant under surveillance during the

purchase of the methamphetamine; (3) observed as Coco and defendant exited the house;

and (4) watched Coco and the defendant as they drove to the salvage center and again

as they drove towards Blair, Nebraska, to meet with the CI for a second buy. The court

also notes, that while no specific comments have been testified to, Officer Standard did

testify as set forth herein that the CI identified the defendant as being present during the

drug transaction and as making statements during the drug buy. The court agrees with the

magistrate’s finding that whether the government can prove that this defendant was

involved in the drug deal is a question for trial. The court further finds that no grounds exist

to support the defendant’s motion to suppress in this case.

       THEREFORE, IT IS ORDERED that:

       1. The motion to suppress, Filing No. 18, is denied;

       2. Defendant’s objections, Filing No. 30, are overruled;

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       3. The magistrate’s report and recommendation, Filing No. 27, is adopted in its

entirety.

       DATED this 12th day of March, 2007.

                                       BY THE COURT:



                                       s/ Joseph F. Bataillon
                                       Chief United States District Judge




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